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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MAXUM INDEMNITY COMPANY,                   )
                                           )
        Plaintiff,                         )
                                           )
v.                                         )        CIVIL ACTION NO.
                                           )        1:18-CV-01236-WSD
COLLIERS INTERNATIONAL –                   )
ATLANTA, LLC; and,                         )
ALEXANDER DEITCH,                          )
                                           )
        Defendants.                        )

     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS
         FOR FAILURE TO JOIN A PARTY UNDER RULE 19

      Defendant Colliers International – Atlanta, LLC (“Collier”) files this Memo-

randum of Law in support of its Motion to Dismiss.

                            STATEMENT OF FACTS

      1.     Plaintiff Maxum Indemnity Company (“Maxum”) seeks a judgment de-

claring that it has no obligation to Defendants under its insurance policy for any

claims, losses, or other damages or liability asserted in a lawsuit currently pending

in the District Court of Harris County, Texas, 151st Judicial District, Case No. 2017-

731196 (“Underlying Lawsuit”). See Complaint for Declaratory Judgment [Doc. 1].

      2.     The claims asserted against the Defendants in the Underlying Lawsuit

are brought by Mattress Firm, Inc. (“Mattress Firm”). Id.
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      3.     Maxum has not named Mattress Firm as a party to this declaratory judg-

ment action. Id.

              ARGUMENT AND CITATIONS TO AUTHORITY

      Mattress Firm is a required party that must be joined pursuant to Fed.R.Civ.P.

19(a). Colliers requests the Court to direct Maxum to add Mattress Firm as a party

to this action. If Maxum fails to do so, or if joinder is not feasible, this action should

be dismissed pursuant to Fed. R. Civ. P. 19(b) or 41(b).

I.    Legal Standard.

      When deciding a motion to dismiss under Rule 12(b)(7), courts undertake a

two-step inquiry. Molinas Valle del Cibao v. Lama, 633 F.3d 1330, 1344 (11th Cir.

2011). First, courts decide if an absent party is required under Rule 19(a). Second, if

joinder of the required party is not feasible, the court must consider if, “in equity and

good conscience, the action should proceed among the existing parties or should be

dismissed.” Fed.R.Civ.P. 19(b); see also Lexington Ins. Co. v. Moore Stephens

Tiller, LLC, 2016 WL 9453996, at *1 (N.D. Ga. Apr. 29, 2016).

      “When the court decides under Rule 19(a) that a person should be joined, the

court should direct the plaintiff to amend his complaint to add the person.” English




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v. Seaboard Coast Line R. Co., 465 F.2d 43, 47 (5th Cir. 1972)1; see also Lexington

Ins. Co., 2016 WL 9453996, at *1. Failure to comply with such an order may result

in dismissal of the plaintiff's action under Rule 41(b). Id. at 47-48.

II.   Mattress Firm is a required party under Rule 19(a).

      Mattress Firm is a required party because it has an interest in the subject mat-

ter of this declaratory judgment action such that disposing of the action without Mat-

tress Firm will impede its ability to protect its interests.

      The Federal Rules of Civil Procedure mandate joinder of all persons whose

interests in the subject matter of an action would be impaired by disposal of the

action in their absence. Rule 19 provides:

      (a) Persons Required to Be Joined if Feasible.
             (1) Required Party. A person who is subject to service of process
             and whose joinder will not deprive the court of subject-matter
             jurisdiction must be joined as a party if:
                    (A) in that person's absence, the court cannot accord com-
                    plete relief among existing parties; or
                    (B) that person claims an interest relating to the subject of
                    the action and is so situated that disposing of the action in
                    the person's absence may:
                           (i) as a practical matter impair or impede the per-
                           son's ability to protect the interest; or


1
 Decisions of the former Fifth Circuit handed down prior to October 1, 1981 were
adopted by the Eleventh Circuit as binding precedent in Bonner v. Prichard, 661
F.2d 1206, 1209 (11th Cir. 1981) (en banc).

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                          (ii) leave an existing party subject to a substantial
                          risk of incurring double, multiple, or otherwise in-
                          consistent obligations because of the interest.

Fed.R.Civ.P. 19(a).

      The Eleventh Circuit has routinely held that plaintiffs in an underlying action

have an interest in a declaratory judgment action brought by an insurer against an

insured defendant. See e.g., Geico Gen. Ins. Co. v. Gould, 595 Fed. Appx. 901, 906

(11th Cir. 2014); American Safety Cas. Ins. Co. v. Condor Associates, Ltd., 129 Fed.

App’x. 540, 542 (11th Cir. 2005); see also Ranger Ins. Co. v. United Housing of

New Mexico, Inc., 488 F.2d 682, 684 (5th Cir. 1974); Owners Insurance Company

v. Rightway Drywall, Inc., 2011 WL 2473134, *1 (M.D. Ga. 2011); Colony Nat’l

Ins. Co. v. Teaford Co., Inc., 2010 WL 4339369, *2 (N.D. Ga. 2010); White-Spunner

Construction, Inc. v. Zurich American Ins. Co., 2010 WL 3489956 * 3-4 (S.D. Ala.

2010); Owners Insurance Company v. Bryant, 2006 WL 50488 *3-4 (M.D. Ga.

2006). The absence of tort plaintiffs to such a declaratory judgment action impairs

their ability to protect their interest within the meaning of Fed.R.Civ.P.

19(a)(1)(B)(1). For instance, if the Court enters a declaration of non-coverage with-

out joining the absent tort claimants, the “claimants would have to contend with the

stare decisis effect of such a judgment.” Ranger, 488 F.2d at 683; see also American

Safety, 129 Fed. App’x. at 542; Gould, 595 Fed. Appx. at 906; Teaford Co., Inc.,

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2010 WL 4339369 at 2-3; White-Spunner, 2010 WL 3489956 at 4; Rightway Dry-

wall, 2011 WL 2473134 at 1. As a result, these cases hold that tort claimants are

necessary parties to an insurer’s declaratory judgment action against the insured tort

defendant.

      Under this precedent, Mattress Firm is a required party under Rule 19(a). First,

Mattress Firm has an interest in the subject matter of this declaratory judgment ac-

tion. Mattress Firm’s interest in collecting any judgment against Colliers in the Un-

derlying Lawsuit is implicated in this declaratory judgment action regarding

Maxum’s duty to indemnify Colliers. Second, Mattress Firm’s absence precludes it

from presenting any arguments for coverage, and the potential preclusive effect of a

declaration of non-coverage in Mattress Firm’s absence will, as a practical matter,

impede its ability to protect its interests. Finally, there is no indication that joinder

would deprive the court of subject-matter jurisdiction. According to prior filings

with this court and the Georgia Secretary of State’s online records, Mattress Firm is

a Delaware corporation with its principal place of business located in Texas. Its join-

der will not deprive the Court of jurisdiction under 28 U.S.C. § 1332. As a result,

Mattress Firm is a required party under Rule 19(a) that must be joined.




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III.   Maxum is required to join Mattress Firm as a party to this suit.

       On a motion under Rule 12(b)(7), the court must initially determine if the

absentee should be joined as a party in accordance with the criteria set forth in Rule

19(a). See 7 Fed. Prac. & Proc. Civ. § 1609 (3d ed.). If it can, the court should order

the absentee brought into the action. Id. Colliers therefore requests that the Court

order Maxum to add Mattress Firm as a party to this action within 30 days.

                                   CONCLUSION

       Defendant Colliers International – Atlanta, LLC requests the Court to order

Maxum to join Mattress Firm, Inc. as a defendant in this action within 30 days. If

Maxum fails to do so, or if joinder is not feasible, Colliers respectfully requests that

the dismiss the action under Fed. R. Civ. P. 41(b). See English v. Seaboard Coast

Line R. Co., 465 F.2d 43, 47 (5th Cir. 1972) (“Failure to comply with such an order

[requiring joinder of party] may result in dismissal of the plaintiff's action under

Rule 41(b) for failure of a party to comply with an order of court.”)

       Respectfully submitted, this 18th day of April, 2018.

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            CERTIFICATE OF FONT AND POINT SELECTION

      Undersigned counsel hereby certifies, pursuant to LR 7.1(D), NDGa, that the

foregoing was prepared in Times New Roman, 14 point font, which is one of the

font and point selections approved in LR 5.1, NDGa.

                                     s/Shattuck Ely
                                     Shattuck Ely




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                          CERTIFICATE OF SERVICE

       I certify that this day, I electronically filed the foregoing using the Court’s

CM/ECF system, which will send email notification to the following counsel of rec-

ord:

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       Respectfully submitted, this 18th day of April, 2018.


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